Where a suit for land describes certain realty, alleges title thereto, and also claims rents for which judgment is prayed, and where in said petition the right to title and rents is predicated upon a previous decision of this court between the same parties and involving the title to the same land, which decision is attacked as being erroneous, the petition was subject to general demurrer.
        No. 16274. JULY 15, 1948. REHEARING DENIED JULY 28, 1948.
Mattie L. Lankford filed a suit against Rilza T. Holton and others, for three described tracts of land, and a one-half undivided interest in a described fourth tract; and also for rents and profits alleged to be due by reason of an equitable lien upon the land in question. It was alleged that the equitable title in the three and a half tracts of land was vested in Mrs. Lankford, in that the previous decision of this court in the land registration case of Lankford v. Holton, 195 Ga. 317, was erroneous, as there was no evidence in the record of that case sufficient to support a finding, as was so held, that the title was in Mrs. Holton and others. Various attacks upon the rulings in that case are set forth together with a prayer that the decree and registration of title in Mrs. Holton and others be decreed void, canceled, and be registered in the name of Mattie L. Lankford, and for a money judgment. *Page 193 
The exception here is to an order sustaining a general demurrer.
(After stating the foregoing facts.) While there is much in the petition which would be germane to a motion for a rehearing in the previous decision of this court inLankford v. Holton, 195 Ga. 317, 333-335
(24 S.E.2d 292), yet in that case it was held: "The findings of the examiner, both as to fact and law, that title to the three and one-half tracts was in Mrs. Holton and the intervenors, are sustained;" and also held: "If she [Mrs. Lankford] relied on equitable title or interest by reason of the settlement agreement and a claimed breach of the option contract, her claim is barred by acquiescence in the breach and by abandonment of any claim thereunder and by laches."
That Mrs. Lankford has no title to the property, either legal or equitable, was previously determined in the above-referred-to land-registration case. Having been so settled by this court, the question can not be relitigated either directly or indirectly in another action. Lankford v. Holton, 196 Ga. 631
(27 S.E.2d 310). Accordingly, the court did not err in sustaining a general demurrer to the petition in the instant case.
Judgment affirmed. Jenkins, Chief Justice, Duckworth,Presiding Justice, Wyatt, Head, and Candler, Justices, and JudgeA. M. Anderson concur.